Case 2:04-cv-02182-.]DB-dkv Document 19 Filed 07/20/05 Page 1 of 2 Page|D 29

UNITED sTA TEs DISTRICT Co URT F"‘ED BY _-
WESTERN DISTRICT OF TENNESSEE 05 JU[_ 20

WESTERN DIVISION

D.C.

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ctsz;»; 513 655;9§§19
irs sf wires
SHELBY COUNTY HEAL'I`H CARE CORP JUDGMENT IN A CIVIL CASE
d/b/a REGIONAL MEDICAL CENTER,

Plaintiff,
V.

LARRY VANCE, CASE NO: 2:04*2182-B

Defendants.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered

IT IS SO ORDERED AND ADJ`UDGED that in accordance with the Agreed Order Of
Dismissal entered on July 19, 2005, this cause is hereby dismissed with prejudice.

APP o_vED:
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{. D§NIEL BREEN \

ED STATES DISTRICT COURT
»2 !.LD D, THOMAS M. GOU.D
Date Clerk of Court

(By) Deputy Z§erk

Th'ls document entered on the docket sheet |n compl|e ca
with Hule 58 and/or 79(3) FHCF' on 2“£1“0=5

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:04-CV-02182 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

